USDC IN/ND case 2:10-cv-00225-PPS document 23 filed 07/09/10 page 1 of 6
USDC IN/ND case 2:10-cv-00225-PPS document 23 filed 07/09/10 page 2 of 6
USDC IN/ND case 2:10-cv-00225-PPS document 23 filed 07/09/10 page 3 of 6
USDC IN/ND case 2:10-cv-00225-PPS document 23 filed 07/09/10 page 4 of 6
USDC IN/ND case 2:10-cv-00225-PPS document 23 filed 07/09/10 page 5 of 6
USDC IN/ND case 2:10-cv-00225-PPS document 23 filed 07/09/10 page 6 of 6
